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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


FEDERAL TRADE COMMISSION,                                CIVIL ACTION

                       Plaintiff,

       v.                                                No. 1:19-cv-01080 (JDB)

SURESCRIPTS, LLC,

                       Defendant.

                     FIRST AMENDED SCHEDULING ORDER

       Upon consideration of [78] the parties' Joint Motion for the Extension of Case

Deadlines, and the entire record herein, it is hereby

       ORDERED that [78] the parties' Joint Motion for the Extension of Case Deadlines is

GRANTED, and it is further

       ORDERED that the case schedule in Paragraph 8 of [54] the February 28, 2020

Scheduling Order is AMENDED as follows:




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 Event                               Original Date                 New Date

 Substantial Completion              11/23/2020                    11/23/2020
 of Document Production
 Close of Fact Discovery             1/20/2021                      4/16/2021
 Plaintiff Serves Initial Expert     3/22/2021                      6/18/2021
 Report(s)
 Defendant Serves Expert Report(s)   5/21/2021                      8/27/2021
 Plaintiff Serves Rebuttal Expert    6/21/2021                      9/24/2021
 Report(s)
 Close of Expert Discovery           8/20/2021                      11/19/2021
 Summary Judgment Motions Filed      10/22/2021                     1/21/2022
 Oppositions to Summary              11/22/2021                     2/21/2022
 Judgment Motions Filed
 Replies in Support of Summary       12/13/2021                     3/14/2022
 Judgment Filed
 Submission of Proposed Pretrial     45 Days After the             45 Days After the
 Order                               Court’s Order Resolving       Court’s Order
                                     Motions for Summary           Resolving Motions for
                                     Judgment                      Summary Judgment

      SO ORDERED.




                                                                          /s/
                                                                    JOHN D. BATES
Dated: November 12, 2020                                       United States District Judge




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                            ATTORNEYS TO BE NOTIFIED

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